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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District
                                                   __________  DistrictofofNew York
                                                                            __________

              Greystone Select Holdings LLC                           )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No.
                                                                      )
          Computershare Trust Company, N.A.                           )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Computershare Trust Company, N.A.
                                           250 Royall Street
                                           Canton, MA 02021




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CADWALADER, WICKERSHAM & TAFT LLP
                                           Jason Halper
                                           200 Liberty Street
                                           New York, New York 10281
                                           Tel.: (212) 504-6000
                                           Jason.Halper@cwt.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:              1/31/2024                                                             /s/ P. Canales
                                                                                         Signature of Clerk or Deputy Clerk
